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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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In Re: OIL SPILL BY THE OIL RIG
"DEEPWATER HORIZON" IN THE GULF OF
MEXICO, ON APRIL 20, 2010,

Applies to:

12-311, Cameron Int'l Corp. v. Liberty
Ins. Underwriters, Inc., a/k/a Liberty
Int'l Underwriters

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VIDEO DEPOSITION OF CHARLES SLEDGE
Houston, Texas
Friday, September 27, 2013

REPORTED BY:
Linda Rayburn, CSR
JOB NO: 65862

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1 C. SLEDGE
2 A. I think it would be best if you put
3 some timelines around there, because this was a
4 process.
° Q. Fair enough. Prior to the settlement
6 being executed, did you provide any assurance to
7 the insurers that you would do nothing, as
8 Cameron, to impair their subrogation rights?
9 A. I cannot recall specifically how the
10 chain of events occurred and how we got to where
il we wound up at.
12 Q. What's your understanding of the
13 chain of events?
14 A. There was objections to everything,
15 initially, by the insurers: Price, whether you

16 should settle, everything. Everything.

7 Q. Everybody had an opinion?

18 A. Everybody objected.

19 We went through a process of

20 understanding what the objections of the insurers

241 were. I think you'll find in some of these

22 e-mails, and in this one in particular, we're

23 trying to get everybody's position, "What do you
24 want us to do?"

25 We went to BP, as this process

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1 C. SLEDGE

2 unfolded, with what the insurers wanted us to do.
3 Q. Okay.

4 A. Okay. So we were trying to get the

° tower to agree on a course of action. And we --

6 initially we did what they asked us.
7 You can see in this where, you know,
8 they're saying go to BP with $10 million, which

9 we did, and thoroughly almost trashed the

10 negotiations as a result. We had -- we told them

11 that was not a good idea, the insurers. And we

12 did. :
13 I recall that we went to them not
14 waiving subrogation rights if the insurers even |
1s had any, which was a question mark as to whether
16 insurers even had any. We went initially to BP

7 with that position.

18 At some point BP made it clear -- my

19 recollection is BP made it clear to us there

20 would be no settlement without those being

21 waived. And I recall that we wound up getting

22 everybody but Liberty to agree to that and we
23 preserved Liberty's subrogation rights, if any.
24 If any.

25 Q. Okay. You had reported to -- and I

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